         Case 2:19-cr-20052-JAR Document 315 Filed 11/28/22 Page 1 of 1
Appellate Case: 22-3203     Document: 010110774654        Date Filed: 11/28/2022       Page: 1
                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                              FOR THE TENTH CIRCUIT                            November 28, 2022
                          _________________________________
                                                                               Christopher M. Wolpert
                                                                                   Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellant,

  v.                                                          No. 22-3203
                                                    (D.C. No. 2:19-CR-20052-JAR-1)
  FENG TAO,                                                     (D. Kan.)

        Defendant - Appellee.
                       _________________________________

                                       ORDER
                          _________________________________

       This matter is before the court on the government’s Unopposed Motion for

 Voluntary Dismissal. Upon consideration, the court grants the motion and dismisses this

 appeal. See Fed. R. App. P. Rule 42(b); 10th Cir. R. 27.5(A)(9).

       A copy of this order shall stand as and for the mandate of the court.



                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk
